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     8                     UNITED STATES DISTRICT COURT
     9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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    11   PARAMJIT LALLI, individually and       Case No. 8:20-cv-00027-JWH-ADSx
           on behalf of all others similarly
    12     situated,                            ORDER ON MOTION OF
                                                PLAINTIFF FOR PRELIMINARY
    13               Plaintiffs,                APPROVAL OF CLASS ACTION
                                                SETTLEMENT [ECF No. 73]
    14         v.
    15   FIRST TEAM REAL ESTATE-
            ORANGE COUNTY, a California
    16      corporation,
    17               Defendant.
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     1                                I. INTRODUCTION
     2         Before the Court is the unopposed Motion of Plaintiff Paramjit Lalli for
     3   Preliminary Approval of Class Action Settlement.1 The Court finds that the
     4   Motion is appropriate for resolution without a hearing. See Fed. R. Civ. P. 78;
     5   L.R. 7-15. For the following reasons, the Court GRANTS the Motion.
     6                                II. BACKGROUND
     7   A.    Allegations and Procedural Summary
     8         Lalli alleges that Defendant First Team Real Estate-Orange County, a real
     9   estate agency, directed its real estate agents to “cold call consumers without
    10   consent using autodialers and prerecorded voice messages in violation of the
    11   Telephone Consumer Protection Act,” 47 U.S.C. § 227 (the “TCPA”).2 Lalli
    12   further avers that First Team “published a training document to its . . . agents
    13   called ‘7 Steps to Go From New Agent to Top Producer.’”3 The publication
    14   describes a method of “prospecting” for “lead generation” referred to as “Cold
    15   Calling” and “Working Expired Listings.”4
    16         First Team allegedly held a training event at which a First Team realtor
    17   gave a presentation about cold calling.5 During the presentation, a participant
    18   asked the First Team realtor where he obtained the phone numbers to call the
    19   potential customers who had listed properties for sale but whose listings had
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         1
                Pl.’s Mot. for Preliminary Approval of Class Action Settlement (the
    24   “Motion”) [ECF No. 73].
         2
    25          Compl. (the “Complaint”) [ECF No. 1] at 1:20-23. The Court restates
         the allegations in the Complaint for context but makes no determination
    26   regarding their veracity.
         3
                Id. at ¶ 18.
    27   4
                Id. at ¶ 21.
    28   5
                Id. at ¶ 26.

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     1   expired.6 These potential customers are called “expireds.”7 The First Team
     2   realtor explained the following:
     3         for the expireds you can get it yourself . . . there are 3 or 4 websites
     4         we use: reap007.com—their local, there are other companies called
     5         theredx.com, vulcan7.com . . . . They charge anywhere from $50 all
     6         the way up to $300 per month. The good thing is that they email you
     7         every morning expireds in a certain area . . . . We buy them because
     8         I don’t want to spend my time looking for numbers, I’d rather be
     9         calling . . . . You got those websites? did you write them down?
    10         That’s Redx.com and Vulcan7.com. It’s V-U-L-C-A-N and the
    11         number 7.com and that’s $300 per month, and that includes the
    12         dialer. Most of these include the dialer. It’s an efficient way of doing
    13         it. Instead of you dialing, it will dial the number for you. It’s very
    14         fast.8
    15   Lalli further alleges that “First Team provides every realtor with an autodialer
    16   capable of sending mass text messages, kvCORE.”9
    17         Lalli had listed a property for sale that had expired and was removed from
    18   the Multiple Listing Service.10 “Lalli began receiving calls and text messages
    19   from realtors, including unsolicited autodialed text messages and a call from
    20   First Team agents.”11 “On March 19, 2019 at 8:24 AM, Lalli received an
    21   autodialed text message with a link to a video from” Mike Patel, a First Team
    22   realtor.12 Ten days later, Lalli received an autodialed call from another First
    23
         6
               Id. at ¶ 27.
    24   7
               See id.
    25   8
               Id. at ¶ 27.
         9
    26         Id. at ¶ 37.
         10
               Id. at ¶ 41.
    27   11
               Id. at ¶ 42.
    28   12
               Id. at ¶ 43.

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     1   Team agent.13 A few months after that, Lalli received an “autodialed text
     2   message on his cell phone from” a different First Team agent.14 Lalli alleges
     3   that he did not provide his telephone number or otherwise consent to these
     4   calls.15
     5          On January 1, 2020, Lalli filed his Complaint, thereby commencing this
     6   putative class action. The Complaint includes four claims for relief, each of
     7   which alleges violations of the TCPA.16 Under that statute, it is unlawful (with
     8   limited exceptions) “to make any call . . . using any automatic telephone dialing
     9   system or an artificial or prerecorded voice . . . ” to a cellphone number. 47
    10   U.S.C. § 227(b)(1)(A)(iii). The TCPA provides a $500 statutory penalty for
    11   each violation or up to $1,500 per violation if the defendant acted willfully or
    12   knowingly. 47 U.S.C. § 227(b)(3).
    13          On February 5, 2021, Lalli, on behalf of himself and a class of similarly
    14   situated persons, filed the instant Motion, which is unopposed.
    15   B.     Summary of Proposed Settlement
    16          The following is a summary of the proposed settlement agreement.17
    17          1.    Settlement Class
    18          The proposed settlement class is:
    19          all persons in the United States who from four years prior to the filing
    20          of this action through preliminary approval (1) one or more of First
    21          Team’s realtors called or texted, (2)(a) on their cellular telephone
    22          numbers using Vulcan7 and/or RedX, and/or (b) on their cellular or
    23          landline telephone numbers using a prerecorded voice message,
    24
         13
               Id. at ¶ 48.
    25   14
               Id. at ¶ 51.
    26   15
               Id. at ¶ 54.
         16
    27         See generally id.
         17
               Proposed Settlement Agreement (the “Settlement Agreement”) [ECF
    28   No. 73-1].

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     1         (3) whose phone numbers First Team’s realtors obtained from
     2         Vulcan7 and/or RedX, and (4) who are identified in the Vulcan7 call
     3         logs and/or RedX call logs that have been produced in the action.18
     4         2.     Settlement Amount
     5         Pursuant to the Settlement Agreement, First Team “will cause to be
     6   created a Settlement Fund in the amount of $478,500 for the purpose of making
     7   all required payments under” the Settlement Agreement.19 First Team’s
     8   maximum monetary obligation will not exceed $478,500.20 Each member of the
     9   proposed settlement class who does not timely opt-out will be entitled to make a
    10   claim.21 Each member “shall be entitled to submit one claim per telephone
    11   number they used or subscribed to,” and the settlement funds will be distributed
    12   on a pro rata basis after settlement administration costs, and any approved fee
    13   award or service award.22
    14         First Team also “agrees that it will internally distribute to its realtors a
    15   notice outlining the procedural requirements for TCPA compliance, including
    16   specifically with respect to the use of autodialer and prerecorded voice
    17   technology and compliance with the requirements of the National Do Not Call
    18   Registry, and the penalties for failure to comply with the TCPA”23
    19         3.     Settlement Administration and Notice Plan
    20         The parties have selected KCC as the settlement administrator.24 “The
    21   anticipated notice and administration costs are approximately $73,000.”25 KCC
    22
         18
    23         Id. at ¶ 1.1.36.
         19
               Id. at ¶ 4.1.
    24   20
               Id.
    25   21
               Motion at 9:11-12.
         22
    26         Id. at 9:15-23.
         23
               Id. at 6:9-14.
    27   24
               Settlement Agreement at ¶ 1.1.35.
    28   25
               Motion at 7:5.

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     1   will be responsible for administering the following notice plan: “(1) direct
     2   mailed Summary Notice; (2) publication notice through targeted social media
     3   ads that link to the Class Settlement Website; and (3) Long-Form Notice to be
     4   provided on the Settlement Website.”26 KCC will “send direct notice within
     5   thirty (30) days after the Court enters the Preliminary Approval Order.”27 KCC
     6   will also publish the publication notice beginning within 30 days “after the Court
     7   enters the Preliminary Approval Order.”28 The proposed Long-Form Notice
     8   and Summary Notice are attached to the Settlement Agreement as Exhibits B
     9   and C.29
    10         4.     Opt-Out and Objection Process
    11         Any member of the proposed settlement class “who does not wish to
    12   participate in” the proposed settlement “must write to [KCC] stating an
    13   intention to be ‘excluded’ from” the settlement.30 The request must be sent by
    14   first class U.S. mail, postmarked no later than the Opt-Out Deadline,31 which the
    15   Settlement Agreement defines as approximately 60 days after KCC disseminates
    16   notice of the proposed settlement by mail.32 Any objection to the Settlement
    17   Agreement, “including any of its terms or provisions, must be in writing, and
    18   filed with the Court or mailed to the Clerk’s Office.”33 Members of the
    19   settlement class will have the right to appear and show cause why the Settlement
    20   Agreement should not be given final approval.34 An objecting party must file a
    21
    22   26
               Id. at 7:12-16.
         27
    23         Id. at 8:6-10.
         28
               Id.
    24   29
               Settlement Agreement at Exs. B & C.
    25   30
               Id. at ¶ 10.4.1.
         31
    26         Id.
         32
               Id. at ¶ 1.1.25.
    27   33
               Motion at 8:20-22.
    28   34
               Settlement Agreement at ¶ 10.2.1.

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     1   notice of intention to appear at the final settlement hearing by the Opt-Out
     2   Deadline.35
     3         5.      Release
     4         In exchange for the settlement consideration, Lalli and all members of the
     5   proposed settlement class agree to release the following claims:
     6         any and all claims, liabilities, demands, causes of action, or lawsuits
     7         of any and all Settlement Class Members, whether known or
     8         unknown, whether legal, statutory, equitable, or of any other type or
     9         form, whether under federal, state, local law , or regulations (such as
    10         any violations of the Telephone Consumer Protection Act, 47 USC
    11         § 227, the FCC’s related regulations—including Do Not Call
    12         requirements, or unfair or deceptive practices act), and whether
    13         brought in an individual, representative, or other capacity, that:
    14         (a) were brought in the Litigation, or (b) arise from or relate to the
    15         manner in which the calls or texts to Settlement Class Members were
    16         made, or attempted to be made, by or on behalf of First Team and/or
    17         its realtors, including without limitation, using an automated
    18         telephone dialing system or through a pre-recorded voice, or (c) arise
    19         from or relate to the making, or attempted making, of the calls or
    20         texts to Settlement Class Members by or on behalf of First Team
    21         and/or its realtors to telephone numbers registered on any federal or
    22         state do not call list, or (d) arise from or relate to the making, or
    23         attempted making, of the calls or texts to Settlement Class Members
    24         by or on behalf of First Team and/or its realtors, or (e) arise from or
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    28   35
               Id. at ¶ 10.2.2.

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     1         relate to the conduct alleged in the Complaint, within the four years
     2         preceding January 7, 2020.36
     3         6.     Class Counsel Fees and Expenses and Plaintiff’s Service Award
     4         First Team “has agreed to pay from the Settlement Fund reasonable
     5   attorneys’ fees and costs to Class Counsel and a Service Award to the Class
     6   Representative, in amounts approved by the Court.”37 Class Counsel intends to
     7   petition the Court for an incentive award not to exceed $5,000.38 Class Counsel
     8   also intends to apply to the Court for attorneys’ fees totaling not more than one-
     9   third of the Settlement Fund.39 Lalli requests that the Court “consider whether
    10   to grant or deny these awards separate and apart from its consideration of the
    11   Settlement’s fairness and reasonableness.”40
    12                                   III. DISCUSSION
    13   A.    Preliminary Approval of the Settlement Agreement
    14         1.     Legal Standard
    15         “The claims, issues, or defenses of . . . a class proposed to be certified for
    16   purposes of settlement” may be settled only with the court’s approval.”
    17   Fed. R. Civ. P. 23(e). “The primary concern of [Rule 23(e)] is the protection of
    18   th[e] class members, including the named plaintiffs, whose rights may not have
    19   been given due regard by the negotiating parties.” Officers for Justice v. Civil
    20   Serv. Comm’n of City & Cnty. of S.F., 688 F.2d 615, 624 (9th Cir. 1982). The
    21   decision to approve a class action settlement is “committed to the sound
    22   discretion of the trial judge,” Class Plaintiffs v. City of Seattle, 955 F.2d 1268,
    23
    24
    25   36
               Settlement Agreement at ¶ 1.1.29.
         37
    26         Motion at 10:9-11.
         38
               Id. at 10:12-14.
    27   39
               Id. at 10:17-19.
    28   40
               Id. at 11:1-2.

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     1   1276 (9th Cir. 1992), who must examine the settlement to determine if it is “fair,
     2   reasonable, and adequate,” Fed. R. Civ. P. 23(e)(2).
     3         In determining whether a class settlement is “fair, reasonable, and
     4   adequate,” a district court must consider the following factors:
     5         (A) the class representatives and class counsel have adequately
     6         represented the class;
     7         (B) the proposal was negotiated at arm’s length;
     8         (C) the relief provided for the class is adequate, taking into account:
     9                  (i) the costs, risks, and delay of trial and appeal;
    10                  (ii) the effectiveness of any proposed method of distributing
    11                  relief to the class, including the method of processing class-
    12                  member claims;
    13                  (iii) the terms of any proposed award of attorneys’ fees,
    14                  including timing of payment; and
    15                  (iv) any agreement required to be identified under
    16                  Rule 23(e)(3); and
    17         (D) the proposal treats class members equitably relative to each
    18         other.
    19   Fed. R. Civ. P. 23(e)(2). The goal of Rule 23(e)(2), as amended in 2018, “is . . .
    20   to focus the [district] court and the lawyers on the core concerns of procedure
    21   and substance that should guide the decision whether to approve the proposal.”
    22   Fed. R. Civ. P. 23(e)(2), 2018 Advisory Comm. Notes. A court must review the
    23   entire settlement agreement, as a whole, for overall fairness. Staton v. Boeing
    24   Co., 327 F.3d 938, 960 (9th Cir. 2003).
    25         2.       Adequacy of Representation by Class Representatives and
    26                  Class Counsel
    27         Under Rule 23(e)(2)(A), the first factor to be considered is whether the
    28   class representative and class counsel have adequately represented the class.

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      1   This analysis includes, for example, “the nature and amount of discovery”
     2    undertaken in the litigation, or “the actual outcomes of other cases.”
     3    Fed. R. Civ. P. 23(e)(2)(A), 2018 Advisory Comm. Notes. In this case, class
     4    counsel have extensive experience with TCPA litigation.41 Moreover, the
     5    proposed settlement “was reached only after effectively completing discovery,
     6    including extensive third party discovery, expert discovery, numerous
     7    depositions, and informal discovery concerning [First Team’s] financial
     8    condition,” as well as fully briefing class certification.42 The Court therefore
     9    finds that Lalli and class counsel have adequately represented the proposed
    10    settlement class, which weighs in favor of preliminary approval of the
     11   Settlement Agreement.
    12          3.     Negotiated at Arm’s Length
     13         Next, the Court considers whether the proposed settlement was
    14    negotiated at arm’s length. See Fed. R. Civ. P. 23(e)(2)(B). As with the
     15   preceding factor, this factor can be “described as [a] ‘procedural’ concern[],
    16    looking to the conduct of the litigation and of the negotiations leading up to the
     17   proposed settlement.” Fed. R. Civ. P. 23(e)(2), 2018 Advisory Comm. Notes.
    18    “[T]he involvement of a neutral or court-affiliated mediator or facilitator in
    19    [settlement] negotiations may bear on whether th[ose] [negotiations] were
    20    conducted in a manner that would protect and further the class interests.”
    21    Fed. R. Civ. P. 23(e)(2)(B), 2018 Advisory Committee Notes.
    22          Here, the parties “engaged in a full-day, contentious mediation with
    23    Central District of California Judge Andrew Guilford (Ret.).”43 The mediation
    24    did not initially result in a settlement, but “the parties engaged in further
    25
    26
          41
                Decl. of Avi R. Kaufman in Supp. of Motion [ECF No. 73-2] ¶ 18.
    27    42
                Id. at ¶ 2; see also id. at ¶¶ 3 & 4.
    28    43
                Id. at ¶ 7.

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      1   settlement negotiations with the assistance of Judge Guilford over the course of
     2    the following weeks,” which ultimately culminated in the Settlement
     3    Agreement.44
     4          In sum, the parties negotiated at arm’s length, and there is no indication
     5    that the proposed settlement is the product of collusion. This factor therefore
     6    weighs in favor of preliminary approval.
     7          4.     Adequacy of Relief Provided for the Class
     8          The third factor is whether “the relief provided for the class is adequate,
     9    taking in to account: (i) the costs, risks, and delay of trial and appeal; (ii) the
    10    effectiveness of any proposed method of distributing relief to the class, including
     11   the method of processing class-member claims; (iii) the terms of any proposed
    12    award of attorneys’ fees, including timing of payment; and (iv) any agreement
     13   required to be identified under Rule 23(e)(3).” Fed. R. Civ. P. 23(e)(2)(C).
    14    Under this factor, the relief “to class members is a central concern.”
     15   Fed. R. Civ. P. 23(e)(2)(C), 2018 Advisory Comm. Notes.
    16                 a.     Costs, Risks, and Delay
     17         “A[] central concern [when evaluating a proposed class action settlement]
    18    . . . relate[s] to the cost and risk involved in pursuing a litigated outcome.”
    19    Fed. R. Civ. P. 23(e)(2), 2018 Advisory Comm. Notes. In this regard, the test of
    20    a settlement is not the maximum amount that the plaintiffs might have
    21    recovered, but, rather, whether the settlement is within a reasonable range. See
    22    Rodriguez v. West Publishing Corp., 563 F.3d 948, 965–66 (9th Cir. 2009)
    23    (“district judges naturally arrive at a reasonable range for settlement by
    24    considering the likelihood of a plaintiffs’ or defense verdict, the potential
    25    recovery, and the chances of obtaining it, discounted to present value”).
    26
    27
    28    44
                Id.

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      1         In arriving at the Settlement Agreement, class counsel considered several
     2    potential difficulties that may arise if litigation were to proceed, including:
     3          [T]he strength of Defendant’s defenses, the limitations of
     4          Defendant’s financial ability to pay a potential final judgment,
     5          difficulties in obtaining class certification and proving liability, the
     6          uncertain outcome and risk of the litigation, especially in complex
     7          actions such as this one, the inherent delays in such litigation, and,
     8          in particular, the risk [of] a change in the law[.]45
     9    Lalli and class counsel have obtained a total settlement amount of $478,500.
    10    The Court finds this sum to be adequate given the costs, risks, and delay of
     11   continued litigation.
    12                 b.     Effectiveness of Method of Distributing Relief
     13         The Court must also consider “the effectiveness of any proposed method
    14    of distributing relief to the class, including the method of processing class-
     15   member claims.” Fed. R. Civ. P. 23(e)(2)(C). “Often it will be important for
    16    the court to scrutinize the method of claims processing to ensure that it
     17   facilitates filing legitimate claims.” Fed. R. Civ. P. 23(e), 2018 Advisory Comm.
    18    Notes. “A claims processing method should deter or defeat unjustified claims,
    19    but the court should be alert to whether the claims process is unduly
    20    demanding.” Id.
    21          Payment will be made only to class members who timely submit a valid
    22    claim form.46 The claim form is attached to the Settlement Agreement.47 A
    23    claim form may be submitted “by mail or online.”48 The form is relatively
    24
    25
          45
    26          Id. at ¶ 8.
          46
                Settlement Agreement at ¶ 4.4.4.
    27    47
                Id. at Ex. A.
    28    48
                Id. at ¶ 8.1.

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      1   simple and will take a minimal amount of time to complete.49 The Court finds
     2    the method of distributing relief to be adequate.
     3                 c.     Proposed Award of Attorneys’ Fees
     4          Lalli and class counsel have indicated that they intend to seek a service
     5    award and an award of attorneys’ fees, respectively. However, the Settlement
     6    Agreement is not contingent on any such award. As requested by class counsel,
     7    the Court will consider any fee or service award separately from the preliminary
     8    approval of the proposed settlement.
     9                 d.     Agreement Identification Requirement
    10          The Court must also evaluate any agreement made in connection with the
     11   proposed Settlement. See Fed. R. Civ. P. 23(e)(2)(C)(iv) & (e)(3). Here, the
    12    Settlement Agreement presently before the Court is the only agreement. Thus,
     13   the Court need not evaluate any additional agreements outside of the Settlement
    14    Agreement.
     15         Based upon the foregoing, the Court finds that this factor weighs in favor
    16    of preliminary approval of the Settlement Agreement.
     17         5.     Equitable Treatment of Class Members
    18          The final Rule 23(e)(2) factor turns on whether the proposed settlement
    19    “treats class members equitably relative to each other.”
    20    Fed. R. Civ. P. 23(e)(2)(D). “Matters of concern could include whether the
    21    apportionment of relief among class members takes appropriate account of
    22    differences among their claims, and whether the scope of the release may affect
    23    class members in different ways that bear on the apportionment of relief.”
    24    Fed. R. Civ. P. 23(e)(2)(D), 2018 Advisory Comm. Notes.
    25
    26
    27
    28    49
                See id. at Ex. A.

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      1          Here, each class member must submit the same claim form.50 As
     2    explained above, the settlement funds will be distributed based upon the number
     3    of telephone calls class members received. The Court finds that the treatment
     4    of class members is equitable. Accordingly, this factor also weighs in favor of
     5    preliminary approval.
     6           After weighing the preceding factors, the Court finds that the proposed
     7    settlement is fair, reasonable, and adequate.
     8    B.     Preliminary Certification of the Proposed Settlement Class
     9           1.     Legal Standard
    10           The second prerequisite for directing notice of the proposed settlement to
     11   the class is a determination that “the court will likely be able to [] certify the
    12    class for purposes of judgment[.]” Fed. R. Civ. P. 23(e)(1)(B)(ii); see also
     13   Ochinero v. Ladera Lending, Inc., 2021 WL 2295519, at *9 (C.D. Cal. Feb. 26,
    14    2021). The class action is ‘an exception to the usual rule that litigation is
     15   conducted by and on behalf of the individual named parties only.”’ Wal-Mart
    16    Stores, Inc. v. Dukes, 564 U.S. 338, 348 (2011) (quoting Califano v. Yamasaki,
     17   442 U.S. 682, 700–701 (1979)). “Rule 23(a) ensures that the named plaintiffs
    18    are appropriate representatives of the class whose claims they wish to litigate.”
    19    Id. at 349.
    20           Rule 23(a) imposes the following prerequisites on class actions: (1) the
    21    class is so numerous that a joinder of all members is impracticable (numerosity);
    22    (2) there are questions of law or fact common to the class (commonality); (3) the
    23    claims or defenses of the representative parties are typical of the claims or
    24    defenses of the class (typicality); and (4) the representative parties will fairly and
    25    adequately protect the interests of the class (adequacy). Fed. R. Civ. P. 23(a).
    26
    27
    28    50
                 See, e.g., id. at Ex. A.

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      1         In addition, Rule 23(b) requires at least one of the following to be true for
     2    a class action to be maintained:
     3          (1) prosecuting separate actions by or against individual class
     4          members would create a risk of:
     5                 (A) inconsistent or varying adjudications with respect to
     6                 individual class members that would establish incompatible
     7                 standards of conduct for the party opposing the class; or
     8                 (B) adjudications with respect to individual class members
     9                 that, as a practical matter, would be dispositive of the interests
    10                 of the other members not parties to the individual
     11                adjudications or would substantially impair or impede their
    12                 ability to protect their interests;
     13         (2) the party opposing the class has acted or refused to act on
    14          grounds that apply generally to the class, so that final injunctive relief
     15         or corresponding declaratory relief is appropriate respecting the
    16          class as a whole; or
     17         (3) the court finds that the questions of law or fact common to class
    18          members predominate over any questions affecting only individual
    19          members, and that a class action is superior to other available
    20          methods for fairly and efficiently adjudicating the controversy. The
    21          matters pertinent to these findings include:
    22                 (A) the class members’ interests in individually controlling
    23                 the prosecution or defense of separate actions;
    24                 (B) the extent and nature of any litigation concerning the
    25                 controversy already begun by or against class members;
    26                 (C) the desirability or undesirability of concentrating the
    27                 litigation of the claims in the particular forum; and
    28                 (D) the likely difficulties in managing a class action.

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      1   Fed. R. Civ. P. 23(b). With respect to Rule 23(b)(3), what matters is not merely
     2    “the raising of common ‘questions,’” “but rather, the capacity of a class-wide
     3    proceeding to generate common answers apt to drive the resolution of the
     4    litigation.” Dukes, 564 U.S. at 350.
     5          2.     Rule 23(a) Requirements
     6                 a.     Numerosity
     7          The numerosity prerequisite “requires examination of the specific facts of
     8    each case and imposes no absolute limitations.” Gen. Tel. Co. of the Nw. v. Equal
     9    Employment Opportunity Comm’n, 446 U.S. 318, 330 (1980). The numerosity
    10    requirement is met here because the proposed class would include thousands of
     11   members who allegedly received telephone calls or texts in violation of the
    12    TCPA. See, e.g., Ladera Lending, 2021 WL 2295519, at *9 (“Typically, courts
     13   have found that the numerosity requirement is satisfied when the proposed class
    14    includes at least forty members.”).
     15                b.     Commonality
    16          “[C]ommonality requires that the class members’ claims ‘depend upon a
     17   common contention’ such that ‘determination of its truth or falsity will resolve
    18    an issue that is central to the validity of each claim in one stroke.’” Abdullah v.
    19    U.S. Sec. Assocs., Inc., 731 F.3d 952, 957 (9th Cir. 2013) (quoting Dukes, 564 U.S.
    20    at 350). Commonality is demonstrated here. Among other things, each class
    21    member’s claim involves similar issues regarding whether First Team ratified
    22    the violation of the TCPA by encouraging its agents to use auto-dialed calls and
    23    recorded messages without proper consent.
    24                 c.     Typicality
    25          “To demonstrate typicality, Plaintiffs must show that the named parties’
    26    claims are typical of the class.” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 984
    27    (9th Cir. 2011) (citing Fed. R. Civ. P. 23(a)(3)). “The test of typicality ‘is
    28    whether other members have the same or similar injury, whether the action is

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      1   based on conduct which is not unique to the named plaintiffs, and whether other
     2    class members have been injured by the same course of conduct.’” Hanon v.
     3    Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992) (quoting Schwartz v. Harp,
     4    108 F.R.D. 279, 282 (C.D. Cal. 1985)). The Rule 23(a) standard is
     5    “permissive,” and it requires only that the representative’s claims are
     6    “‘reasonably co-extensive with those of absent class members.’” Rodriguez v.
     7    Hayes, 591 F.3d 1105, 1124 (9th Cir. 2010) (citation omitted).
     8          Lalli’s claims are not identical to all class members, but they are
     9    sufficiently similar to satisfy the typicality requirement. See Rodriguez, 591 F.3d
    10    at 1124 (representative’s claim need not be “substantially identical”) (citation
     11   omitted). All of the class members’ claims raise similar issues regarding First
    12    Team’s alleged violation of the TCPA. Accordingly, the Court finds that Lalli’s
     13   claims are typical of the class.
    14                 d.     Adequacy
     15         Rule 23(a)(4) requires that the class representative “fairly and adequately
    16    protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). As discussed in
     17   part III.A.2, supra, the Court finds that Lalli and class counsel have adequately
    18    represented the class. There is also no reason to think that Lalli’s interests are
    19    not aligned with other class members. See, e.g., Crawford v. Honig, 37 F.3d 485,
    20    487 (9th Cir. 1994), as amended on denial of reh’g (Jan. 6, 1995) (adequacy
    21    depends on the qualifications of the representative, “‘an absence of antagonism,
    22    a sharing of interests between representatives and absentees, and the
    23    unlikelihood that the suit is collusive’”) (citation omitted). The Court therefore
    24    finds that the adequacy requirement is satisfied.
    25          3.     Rule 23(b) Requirement
    26          The proposed class must also meet one of the elements listed in
    27    Rule 23(b). The Court finds that the proposed class satisfies the predominance
    28    and superiority test under Rule 23(b)(3).

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      1         “The predominance analysis under Rule 23(b)(3) focuses on ‘the
     2    relationship between the common and individual issues’ in the case and ‘tests
     3    whether proposed classes are sufficiently cohesive to warrant adjudication by
     4    representation.’” Wang v. Chinese Daily News, Inc., 737 F.3d 538, 545 (9th Cir.
     5    2013) (citation omitted). “The main concern in the predominance inquiry[] [is]
     6    the balance between individual and common issues.” In re Wells Fargo Home
     7    Mortg. Overtime Pay Litig., 571 F.3d 953, 959 (9th Cir. 2009). Here, the
     8    settlement class readily satisfies the predominance test because the key
     9    questions regarding First Team’s alleged violation of the TCPA, including
    10    whether First Team ratified the conduct of its agents, are common to all class
     11   members. The settlement class also satisfies Rule 23(b)(3)’s superiority
    12    requirement because the large number of claims, the relatively small statutory
     13   damages, and the desirability of adjudicating the claims consistently all indicate
    14    that a class action is the superior method of adjudicating the claims at issue.
     15   C.    Notice Requirements Under Rule 23(c)(2)(B)
    16          “For any class certified under Rule 23(b)(3)—or upon ordering notice
     17   under Rule 23(e)(1) to a class proposed to be certified for purposes of settlement
    18    under Rule 23(b)(3)—the court must direct to class members the best notice
    19    that is practicable under the circumstances, including individual notice to all
    20    members who can be identified through reasonable effort.”
    21    Fed. R. Civ. P. 23(c)(2)(B). Such notice must clearly state the following:
    22          (i) the nature of the action;
    23          (ii) the definition of the class certified;
    24          (iii) the class claims, issues, or defenses;
    25          (iv) that a class member may enter an appearance through an
    26          attorney if the member so desires;
    27          (v) that the court will exclude from the class any member who
    28          requests exclusion;

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      1         (vi) the time and manner for requesting exclusion; and
     2          (vii) the binding effect of a class judgment on members under
     3          Rule 23(c)(3).
     4    Fed. R. Civ. P. 23(c)(2)(B). “Notice is satisfactory if it generally describes the
     5    terms of the settlement in sufficient detail to alert those with adverse viewpoints
     6    to investigate and to come forward and be heard.” Churchill Vill., L.L.C. v. Gen.
     7    Elec., 361 F.3d 566, 575 (9th Cir. 2004) (citation and quotation omitted).
     8          The notice describes the allegations and claims in plain language,51 defines
     9    a class member,52 provides contact information for class counsel and explains
    10    that class members may retain another lawyer,53 and summarizes the settlement
     11   amount and how it will be distributed.54 The notice also describes the options
    12    available to class members, including the instructions for opting out and filing an
     13   objection.55 The notice informs class members in plain language that, if they do
    14    not exclude themselves from the settlement, they will not be able to pursue their
     15   own lawsuit for the same alleged violations.56 The notice informs class members
    16    that they may appear at the final approval hearing.57 The notice also directs
     17   class members to a website with more information, including the Settlement
    18    Agreement.58 Class members have 60 days from the mailing of the notice to
    19    submit a claim, opt out, or file a notice of objection.59 Accordingly, the notice
    20    requirements under Rule 23(c)(2)(B) are met.
    21
    22    51
                Settlement Agreement, Ex. B at ¶ 2.
          52
    23          Id. at ¶ 6.
          53
                Id. at ¶ 15.
    24    54
                Id. at ¶¶ 8 & 16.
    25    55
                Id. at ¶¶ 10-12 & 17-23.
          56
    26          Id. at ¶ 12.
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                Id. at ¶¶ 18-21.
    27    58
                Id. at ¶¶ 13 & 23.
    28    59
                Settlement Agreement at ¶¶ 1.1.25, 1.1.4, 4.4.3, & 10.2.1.

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      1                                  IV. CONCLUSION
     2          For the foregoing reasons, the Court GRANTS the Motion and orders
     3    the following:
     4          1.     The Settlement Agreement is PRELIMINARILY APPROVED.
     5          2.     The following settlement class is CERTIFIED for settlement
     6    purposes only:
     7          all persons in the United States who from four years prior to the filing
     8          of this action through preliminary approval (1) one or more of First
     9          Team’s realtors called or texted, (2)(a) on their cellular telephone
    10          numbers using Vulcan7 and/or RedX, and/or (b) on their cellular or
     11         landline telephone numbers using a prerecorded voice message,
    12          (3) whose phone numbers First Team’s realtors obtained from
     13         Vulcan7 and/or RedX, and (4) who are identified in the Vulcan7 call
    14          logs and/or RedX call logs that have been produced in the action.60
     15         3.     The Court APPOINTS Rachel E. Kaufman and Avi R. Kaufman of
    16    Kaufman, P.A. to serve as counsel on behalf of the settlement class for the
     17   purposes of settlement only.
    18          4.     Plaintiff Paramjit Lalli is APPOINTED as the representative of the
    19    settlement class for the purposes of settlement only.
    20          5.     KCC is APPOINTED as the settlement administrator.
    21          6.     The Court AUTHORIZES distribution of class notice to the
    22    settlement class members pursuant to the Settlement Agreement.
    23          7.     The parties are DIRECTED to appear before this Court for a final
    24    approval hearing on November 5, 2021, at 9:00 a.m. at the George E. Brown, Jr.
    25    Federal Building and United States Courthouse, 3470 12th Street, Riverside, CA
    26    92501, Courtroom 2.
    27
    28    60
                Id. at ¶ 1.1.36.

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      1         8.    The pending motion of Plaintiff Paramjit Lalli to Certify Class
     2    [ECF No. 42] is DENIED as moot.
     3          IT IS SO ORDERED.
     4
     5    Dated: July 7, 2021
                                                John W. Holcomb
     6                                          UNITED STATES DISTRICT JUDGE
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